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UNITED STATES OF AMERICA
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

UNITED STATES OF AMERICA, NO. 2:22-cv-00826

Page ID #:1

Plaintiff,
Vv.

ANY AND ALL FUNDS SEIZED FROM
VARIOUS ACCOUNTS AT BANK OF
AMERICA, N.A.,

Defendant.

VERIFIED COMPLAINT FOR FORFEITURE

 

 

 

 

 

18 U.S.C. § 981 (a) (1) (C)

[U.S.D.5.5.]

The United States of America brings this claim against the

defendant any and all bank funds seized from the Bank of America

accounts identified in Attachment A,

and alleges as follows:

 
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INRODUCTION

1. For at least three years, criminal actors known and unknown
have conspired to open hundreds of bank accounts at Bank of America
(“BofA”) through corruption and bribery of bank employees responsible
for ensuring BofA’s compliance with anti-money laundering and
customer identification policies during new account openings, thus
providing hundreds of unknown or unverified individuals or
organizations with virtually-unfettered access to the U.S. financial
system. Through this civil complaint for forfeiture, the government
seeks to forfeit the proceeds of this scheme, in the form of the
funds seized from these fraudulently-opened accounts.

JURISDICTION AND VENUE

 

2. This is a civil forfeiture action brought pursuant to 18
U.S.C. § 981(a) (1) (C).

3. This Court has jurisdiction over this matter under 28
U.S.C. §§ 1345 and 1355.

4. Venue lies in this District pursuant to 28 U.S.C.
§ 1395(a).

PERSONS AND ENTITIES

 

5. The plaintiff is the United States of America (the
“plaintiff” or the “government”).

6. The defendants are any and all bank funds (the “Defendant
Funds”) seized from the BofA accounts specified in Attachment A (the
“Defendant Accounts”).

7. The Defendant Funds are currently held by the United States
Marshals Service where they shall remain subject to this Court’s

jurisdiction pending the resolution of this action.

 
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8. The interests of BofA as well as the purported
accountholders! identified in Attachment A may be adversely affected
by these proceedings.

BASIS FOR FORFEITURE

 

Background on Currency Control Restrictions and

 

Informal Value Transfer Systems

 

9. The laws of the People’s Republic of China (the “PRC”)
place certain limitations on the amount of currency PRC citizens or
businesses may transfer out of the PRC in any calendar year.

10. Despite these capital controls, large numbers of PRC
citizens and businesses regularly seek to transfer funds out of the
PRC and often to the United States, in amounts not permitted by PRC
law, for purposes both legal and illegal.

11. PRC citizens and businesses use a variety of methods to
circumvent PRC capital controls, and many of these methods require
domestic bank accounts to receive and spend these transferred funds.

12. One method PRC citizens use to transfer funds while evading
PRC capital controls is the transfer of funds from currency exchanges
in the PRC, and specifically in Hong Kong, to bank accounts at
domestic U.S. banks. This method is possible based on differences
between currency control regulations in Hong Kong and the PRC
generally. To execute these transfers, the transferring party will

often need to have a preexisting account at the domestic U.S. bank.

 

1 As described herein, a cooperating defendant has admitted that
most of these Defendant Accounts were never verified, and as such,
there is no way to presently confirm whether the identified
accountholders are, in fact, the persons controlling the Defendant
Accounts. Accordingly, these individuals are referred to herein as
“purported accountholders.”

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13. Another method PRC citizens use to transfer funds while
evading PRC capital controls is through informal value transfer
systems (“IVTS%), commonly known as “hawala” systems. IVTS are a
method of unregulated and/or illegal transfers of value which do not
utilize formal or conventional banking channels. In an IVTS transfer,
neither currency nor assets are actually transferred, but instead, a
payment to one party by a customer creates debt to be paid to that
customer by a separate third party, typically in another
jurisdiction. Functionally, an IVTS transaction typically occurs as
follows: a customer transfers an amount of money to a local IVTS
operator, who then directs an IVTS associate located in a foreign
country or jurisdiction to pay an equivalent amount in foreign
currency to the customer’s designated foreign account, minus the IVTS
operator’s fees. In this way, no currency or funds cross any borders,
but the customer is now in possession of funds in an account in the
foreign jurisdiction with no record of any international transfer
having taken place.

14. IVTS systems are common in multiple parts of the world,
including in China, where they are commonly referred to as “fei

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chien” or “flying money,” and are used to circumvent PRC currency
control restrictions.

15. When transferring funds through an IVTS in order to evade
PRC capital controls, the transferring party will often need a U.S.
bank account to receive and spend the transferred funds, either to
receive funds from the ITS associate, or to conduct ordinary banking
activity and spend these funds. This activity may include purchasing

real property or investments, which may be complicated in the absence

of a U.S. bank account.

 
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16. Because IVTS transactions occur without any formal record
of any currency or funds transfer, IVTS operations are often used for
criminal purposes, as IVTS transactions may frustrate law
enforcement’s ability to trace the proceeds of criminal activity. In
addition, because IVTS operations require large amount of currency
outside of the traditional banking system to satisfy customer
requests, IVTS operations are regularly used as a method to launder
the cash proceeds of fraud schemes or narcotics sales.

Background on Federal Anti-Money Laundering Laws and Know-Your-

 

Customer Law and Regulations

 

17. BofA is a federally-insured financial institution within
the meaning of federal law.

18. BofA maintains branches throughout this judicial district.

19. In accordance with federal regulations, BofA maintains
Anti-Money Laundering and Customer Identification Policies (the “AML-
CIP Programs”) which impose certain reguirements on BofA and its
employees when opening new bank accounts.

20. Specifically, 31 C.F.R. § 1020.220 (previously at 31 C.F.R.
§ 103.121) requires that banks such as BofA implement risk-based
procedures for “verifying the identity of each customer to the extent
reasonable and practicable” in order to “enable the bank to form a
reasonable belief that it knows the true identity of each customer.”
With respect to non-resident aliens applying for an account, banks
such as BofA must obtain and verify a passport number and country of
issuance (or similar identification information) and create
procedures to address situations where such a customer seeks to open

an account without appearing in person at the bank, and where

 
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circumstances increase the risk that the bank will be unable to
verify the true identity of the customer through documents alone.

21. BofA complies with 31 CFR § 1020.220 through, among other
things, implementation and enforcement of the AML-CIP Programs.

22. At all relevant times, the AML-CIP Programs required BofA
employees opening new bank accounts to ensure that new, non-resident
alien applicants (“NRA Applicants”) provide an original, acceptable
identification document (which may include a valid passport) as well
as their physical residency information within the United States; and
also, that such accounts be opened only for owners or signers who are
present, in person, at a BofA financial center or bank-approved
offsite event.

23. BofA’s AML-CIP Programs included a specific requirement
that employees opening new accounts for NRA Applicants verify each
new NRA account holder’s physical address.

24. Because the AML-CIP Programs are mandated by federal
regulations, satisfaction of these requirements is critical to BofA’s
compliance with federal law. BofA will not open an account for an NRA
individual in the absence of compliance with 31 CFR § 1020.220 and
the AML-CIP Programs.

25. BofA employees’ compliance with the AML-CIP Programs was
material to BofA, and employees responsible for account openings were
regularly trained on these AML-CIP Programs and are required to
periodically certify their understanding of the same.

BofA Bankers Evaded the AML-CIP Programs to Open the Defendant

 

Accounts using False Information

 

26. Zhenyi QI, Thuan LE, Chi “Maggie” ZHANG, and Kejia REN are
former employees of BofA in this district.

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27. Beginning no later than 2019, substantial numbers of non-
resident aliens, primarily located in the PRC, sought to open
domestic bank accounts, but were unable or unwilling to do so in
accordance with the AML-CIP Programs (the “PRC Applicants”).

28. In order to open bank accounts for these PRC Applicants,
persons known and unknown, including Xiang “Hugh” GAO and Lina WANG,
conspired to corrupt bankers, including at BofA, in order to open
bank accounts for PRC Applicants while circumventing the AML-CIP
Programs (the “Account Brokers”).

29. The Account Brokers’ scheme generally operated in the
following manner:

a. PRC Applicants would contact one or more Account
Brokers, directly or indirectly, in order to open a domestic bank
account for the applicant without appearing at a local bank branch or
undergoing customer verification in accordance with 31 CFR
§ 1020.220.

b. The PRC Applicants would provide the Account Brokers
with scanned copies of passports, purportedly for the PRC Applicants
(the “PRC Passports”), to be used to open the desired account.

c. The Account Brokers did not verify that these PRC
Passports were accurate, or even if the PRC Applicant was actually
the person identified in the passport. In some instances, these PRC
Passports were stolen or forgeries which purported to be for a PRC
citizen seeking to open a bank account, but which actually bore
passport identification information associated with unrelated persons
from counties other than the PRC.

d. The Account Brokers would solicit bankers with
account-opening authority in the Southern California region,

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promising them either cash compensation for opening accounts for the
PRC Applicants, or in other cases, by promising a stream of new
accounts for the banker sufficient to increase such a banker’s
account-opening bonuses under a bank’s internal compensation systems.

e. The Account Brokers would pass images of the PRC
Passports on to a corrupted banker, who would then open a bank
account without verifying the purported accountholder’s identity or
supporting documents, such as the PRC Passports.

f. In order to circumvent AML-CIP Programs, the Account
Brokers would not use the PRC Applicant’s actual residency address,
but instead, would identify a domestic address the Account Brokers or
their agents controlled as the PRC Applicant’s residential address in
the bank’s books and records.

g. Once the account was opened, the bank would then mail
banking cards for the new account to the false address submitted by
the Account Brokers, who would directly or indirectly collect these
cards and transfer them to the PRC Applicant, who could then conduct
any banking transactions remotely.

30. The Account Brokers corrupted numerous BofA bankers during
the execution of this scheme, four of whom are identified herein:?

Banker Number 1 - ZHANG

 

31. One BofA banker assisting the Account Brokers, and
specifically GAO, in executing this scheme was ZHANG, who was at that

time an employee of BofA.

 

2 These four bankers identified herein (ZHANG, QI, LE, and REN),
are presented merely as examples of this scheme’s operation, and do
not represent a comprehensive list of bankers in this region, or even
at BofA, corrupted by this scheme.

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32. ZHANG would primarily assist the Account Brokers by acting
as a domestic intermediary for GAO and/or WANG and identifying and
managing other BofA bankers who ZHANG believed would be susceptible
to corruption.

33. In some instances, ZHANG would personally open certain of
the Defendant Accounts using false residency information. ZHANG
opened at least four such accounts for PRC Applicants by falsely
identifying the purported accountholder’s residential address as an
address in La Puente, California, when in fact, the actual resident
of that address had no association with any Defendant Accounts,
denied knowing ZHANG or GAO, and handed over to investigating agents
mail from BofA received at that address, while denying knowing the
identified recipients of the mail.

Banker Number 2- QI

 

34. A second BofA banker corrupted through the above-described
scheme was Ql.

35. QI was a BofA relationship manager at a BofA branch in
Rosemead, California.

36. In or about 2019, QI was approached by ZHANG, operating on
behalf of GAO, WANG, and the Account Brokers. Through ZHANG, the
Account Brokers proposed to pay QI approximately $200 per account he
opened at BofA for one of the PRC Applicants in violation of the AML-
CIP Programs.

37. QI agreed to this proposal, and GAO directed QI to open
accounts for the PRC Applications using false addresses, in order to

evade BofA’s AML-CIP Programs.

 
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38. At that time, QI knew that the AML-CIP Programs and federal
regulations prohibited opening accounts using false or “drop”3
addresses, and that he knew the address information he was entering
into BofA’s books and records were false.

39. GAO and ZHANG would forward copies of the NRA Passports to
defendant QI in order to open accounts for the NRA Applicants in
contravention of the AML-CIP Program.

40. Using the Alipay electronic payment application, GAO and/or
other Account Brokers would pay QI the agreed-upon amount for each
BofA account QI opened for a PRC Applicant while evading the AML-CIP
Programs.

41. QI would open accounts for which the PRC Applicants were
the purported accountholders and signers on the accounts, but without
requiring that PRC Applicants (or anyone at all) be present, in
person, at a financial center or bank-approved offsite events, in
violation of the AML-CIP Programs. Accordingly, no effort was made to
verify who may or may not have actually controlled the accounts, nor
whether the identification documents provided by ZHANG and/or GAO
were authentic or used without permission.

42. QI would fund these new accounts with money orders provided
by GAO and/or ZHANG, as BofA policy required additional
identification for new accounts initially funded by cash, but not for

those funded by money orders.

 

3 A “drop” address is an address falsely identified as a
residence or permanent location, but in fact, is just used fora
short period of time or for a specific or limited purpose, which
often cannot be traced back to the drop address user. Because drop
addresses provide anonymity and may frustrate law enforcement
investigations, drop addresses are often used by criminals to receive
mail or parcels while hiding their true location or identity.

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43. Once such an account was opened, BofA would mail the
relevant banking cards to the address QI had listed, and QI would
retrieve the cards and either pass them on to the Account Brokers, or
in other cases, ZHANG, GAO, or other Account Brokers would collect
the cards from the address they had identified for QI.

44. QI would receive instructions from the Account Brokers,
including GAO and ZHANG, by text message or through the WeChat
application.

45. After opening a substantial number of accounts for the PRC
Applicants, QI began to receive PRC Passports and instructions from
WANG directly, instead of through ZHANG and/or GAO.

46. QI received at least $90,000 from the Account Brokers as
part of this scheme.

47. On or about May 6, 2021, QI pled guilty pursuant to a plea
agreement to one count of conspiracy to violate 18 U.S.C. §§ 371 1005

(false entry in bank records) in United States v. Zhenyi Qi, C.D.Cal

 

Case No. 21-cr-200-RGK.

Banker Number 3 —- LE

 

48. A third BofA banker corrupted through the above-described
scheme was LE.

49. LE was previously a BofA employee at BofA’s Rosemead,
California branch.

50. LE aided QI in opening at least 20 Defendant Accounts by
inputting false residency information into BofA’s books and records
in order to evade the AML-CIP Programs.

51. LE provided his BofA credentials to QI so that QI could

open certain of the Defendant Accounts, and in return, LE received

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account opening credit under BofA’s internal compensation system, as
well as gifts from QI.

52. On or about November 8, 2021, LE pled guilty pursuant toa
plea agreement to one count of violating 18 U.S.C. § 1005 (false

entry in bank records) in United States v. Thuan Le, C.D.Cal Case No.

 

21-cr-32-DSF.

Banker Number 4 - REN

 

53. A fourth such banker was REN, who was previously a BofA
employee at BofA’s Puente Hills, California branch.

54. In interviews with investigating agents, REN admitted that
he had opened several BofA accounts for the PRC Applications in
breach of the AML-CIP Programs and using false information, and
without the purported accountholders being present in the BofA
branch, and that he knew the purported accountholders were in China
and were not residents of the US.

55. REN received the relevant PRC Passports from ZHANG, who
would bring REN copies of PRC Passports for him to use to open
associated accounts.

56. REN admitted to receiving approximately $200 in cash from
ZHANG for this service, and stated that he mainly opened the
associated accounts in order to make his sales goals and to receive
increased bonuses.

57. REN admitted to opening at least 21 accounts falsely using
the Nogales Address (as defined herein), and without verifying the
purported accountholders documents or identities.

The Defendant Accounts Were Each Opened Using False Residence

 

Information in Order to Evade the AML-CIP Programs

 

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58. Each of the Defendant Accounts was opened by evading or
defeating the AML-CIP Programs. Specifically, each of the Defendant
Accounts were opened by identifying a false residential addresses for
the purported accountholder in BofA’s books and records (the “False
Addresses”). In fact, each of the False Addresses was a mailbox or
designated mail drop controlled by the Account Brokers, either
directly or indirectly, rather than the actual residence of the
purported accountholder.

59. The False Addresses included:

a. A commercial mail stop located in Arcadia, California
(the “Duarte Road Address”).4 Under 31 CFR § 1020.220 and
interpretive guidance of the same, commercial mail stops are not
permitted as residency addresses for foreign nationals when opening a
U.S. bank account. When interviewed, the owner of the Duarte Road
Address stated that she received large amounts of mail from various
banks for people with Chinese names that were not her customers and
did not rent mailboxes from her business, and requested that the U.S.
Postal Service remove large amounts of such mail as abandoned.
Following his arrest, QI admitted that he falsely entered the Duarte
Road Address in BofA’s books and records when opening these accounts,
and stated that WANG had told him that she knew the owner of Duarte
Road Address, and that whenever BofA banking cards would come in the
mail to this address, they could be forwarded to Beijing, China.

b. A commercial mail stop located in Rowland Heights,
California (the “Nogales Street Address”). Following his arrest, QI

admitted that he falsely entered the Nogales Street Address in BofA’s

 

4 All addresses identified herein are redacted pursuant to
L.R. 5.2-1.

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books and records when opening these accounts, and that he received
the address from ZHANG, knowing that it was a commercial mailbox

facility, and thus not the actual residence of any purported

accountholders.
Cc. A residence located in Rosemead, California (the
“Eckhart Avenue Address”). That address is the front unit of a

multi-unit building, and is approximately 800 square feet in size.
Queries to both commercial and law enforcement databases reflect that
none of the purported accountholders of the Defendant Accounts who
identified the Eckhart Avenue address as their place of residency
address actually lived there. Following his arrest, QI admitted that
he falsely entered the Eckhart Avenue Address in BofA’s books and
records when opening these accounts, and that the occupant of the
Eckhart Avenue Address was a family friend of his who agreed to let
QI use the address for other Chinese clients not in the country.

d. A residence located in San Marino, California (the
“Sherwood Address”). The residents of the Sherwood Address were
associates of QI, and when interviewed, denied knowing any of the
names associated with the Defendant Accounts, but admitted that some
of the named accountholders had received mail at that address, which
would be retrieved by QI.

e. A residence located in La Puente, California (the
“Covina Address”). The resident of this address stated that they had
no association with ZHANG, QI, or GAO, and denied recognizing the
photographs of the same. The resident attempted to abandon BofA mail
received at that address to investigating agents and denied knowing

the addressees of the mail.

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f. A residence located in El Monte, California (the
“Lambert Address”). Following his arrest, QI admitted that he falsely
entered the Lambert Address in BofA’s books and records when opening
these accounts, and that the occupant of the Lambert Address was a
customer of his who was renting the house and agreed to let QI use
the address for other Chinese clients not in the country.

g. A commercial mailbox facility located in Rowland
Heights, California (the “Colima Address”). Following his arrest, QI
admitted that he falsely entered the Colima Address in BofA’s books
and records when opening these accounts, and that he received the
address from ZHANG, knowing that it was a commercial mailbox
facility, and thus not the actual residence of any purported
accountholders. According to a rental contract disclosed by the owner
of the facility, the relevant address was a commercial mailbox rented
by GAO.

h. A residence located in Rosemead, California (the “Rio
Hondo Address”). Following his arrest, QI admitted that he falsely
entered the Rio Hondo Address in BofA’s books and records when
opening these accounts, and that the occupant of the Rio Hondo
Address was a former customer of his who was renting the house and
agreed to let QI send and collect mail at that address.

1. A commercial mailbox facility located in San Gabriel,
California (the “Valley Address”). Following his arrest, QI admitted
that he falsely entered the Valley Address in BofA’s books and

records when opening these accounts, and that he received the address
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from ZHANG knowing that it was a non-qualifying address and
commercial mailbox facility, and thus not the actual residence of any
purported accountholders.

3. A residence located in Alhambra, California (the
“Edgewood Address”). Following his arrest, QI admitted that he
falsely entered the Edgewood Address in BofA’s books and records when
opening these accounts, and that the occupant of the Edgewood Address
was a former customer of his who was renting the house and agreed to
receive mail for QI at that address.

k. A residence located in Covina, California (the
“Tangerine Address”). Following his arrest, QI admitted that he
falsely entered the Tangerine Address in BofA’s books and records
when opening these accounts, and that the occupant of the Tangerine
Address was a customer of his who was renting the house, and QI had
asked him if he could use the address for his other Chinese clients
not in the US.

1. A package forwarding business located in Rowland
Heights, California (the “Colima Address 2”). The owner of the
business at the Colima Address 2 stated to investigating agents that
the business regularly received mail from BofA for various
individuals not associated with their business.

m. Two mailbox businesses located in Monterey Park,
California (the “Garvey Addresses”). The manager of the business at
the Garvey Addresses stated they had moved their mail forwarding

business in approximately January of 2020 and did not know QI, ZHANG
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or GAO and denied recognizing their photographs, and stated a
suspicion that persons receiving mail at the Garvey Address might be
committing fraud, based on unassociated or unregistered persons
receiving mail at the Garvey Addresses.

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CLAIM FOR RELIEF
18 U.S.C. § 981 (a) (1) (C)

60. Based on the facts set out above, Plaintiff alleges that
the Defendant Funds constitute or are derived from proceeds traceable
to violations of, or one or more conspiracies to commit violations
of, 18 U.S.C. §§ 1005 (false entries in bank records), 1343 (wire
fraud), and 1344 (bank fraud), and the latter two statutes are
specified unlawful activity as defined in 18 U.S.C. §1966(c) (7) (A)
and 1961(1). The Defendant Funds are therefore subject to forfeiture
to the United States pursuant to 18 U.S.C. § 981(a)(1)(C).

WHEREFORE, plaintiff United States of America prays:

(a) that due process issue to enforce the forfeiture of the
Defendant Funds;

(bob) that due notice be given to all interested parties to
appear and show cause why forfeiture should not be decreed;

(c) that this Court decree forfeiture of the Defendant Funds to

the United States of America for disposition according to law; and

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action.

Dated: February 7,

 

2022

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(d) for such other and further relief as this Court may deem

just and proper, together with the costs and disbursements of this

TRACY L. WILKISON

United States Attorney

SCOTT M. GARRINGER

Assistant United States Attorney
Chief, Criminal Division
JONATHAN S. GALATZAN

Assistant United States Attorney
Chief, Asset Forfeiture Section

/s/

 

DAN G. BOYLE
Assistant United States Attorney

Attorneys for Plaintiff
UNITED STATES OF AMERICA

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VERIFICATION

I, LUIS OROZCO, hereby declare that:
1. I am a Special Agent of the United States Diplomatic
Security Service and the case agent for the forfeiture matter

entitled United States of America v. Any and All Funds Seized from

 

Various Accounts at Bank of America, N.A.

 

2. I have read the above Verified Complaint for Forfeiture and
know its contents. It is based upon my own personal knowledge and
reports provided to me by other law enforcement agents.

3. Everything contained in the Complaint is true and correct,
to the best of my knowledge and belief.

I declare under penalty of perjury that the foregoing is true

and correct.

Executed February J, 2022 iniuS Aafeley , California.

  

 

 

LU&S OROZCO
Special Agent- United States

Diplomatic Security Service

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